Case 2:05-CV-02353-.]DB-STA Document 3 Filed 06/06/05 Page 1 of 2 Page|D 3

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lN THE UNITEI) STATES DISTRICT COURT FILED ev ghi D_C
FOR THE WESTERN DISTRICT OF TENNESSEE '

WESTERN DIVIsIoN 2005 JUN -6 PH |2= 55
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Plaintiff, )
)

v. ) No. 05-2353 B/An
)
ROBERT s. RUSSELL and )
soUTHERN FIRE & SECURJTY, INC., )
)
Defendants. )

 

ORDER SETTING HEARING

 

Before the Court is a Verified Cornplaint for Temporary Restraining Order, Temporary
and Permanent lnjunction and Money Damages by the Plaintiff, Security Fire Protection, I`nc.
Contained Within the Complaint are motions for a protective order and for expedited discovery.
United States District Judge J. Daniel Breen referred the motion for protective order and motion
for expedited discovery to the Magistrate ludge for determination

lt is ()RDERED that a hearing on these motions shall be held before United States
Magistrate J'udge S. Thomas Anderson on THURSDAY, JUNE 16, 2005 at 10:30 A.M. in

Courtrooin M-3, 9th Floor, Federal Building, Memphis, Tennessee.

g.///:mfb 66&»,_)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

IT IS SO ORDERED.

Date: QL(A(P_ QZ; ZOO.(
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Thls document entered on the docket sheet |n comp||anee
with Ftu|e 58 and/or 79(3) FHCP on ..' / z

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02353 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

Reagan F. Goins

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Honorable J. Breen
US DISTRICT COURT

